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                          Exhibit 1
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                                                                        E V I CT I O N S E RV I C E S
                                                                        When Experience Matters -
                                                                        Let Our Experience be Your Guide
                                                                        When it comes to evictions, time is money. That is why our goal, for over two decades has been to process your ev

                                                                        Read more »




           #1 in Colorado Evictions                                             COVID-19 Resources                                    More About Our Practice Areas




THS has an earned reputation for consistent, effective                                                                             Our experienced attorneys recognize the need for
and successful representation because we take a                   Even in uncertain times, our clients can depend on our           prompt, quality legal advice and representation at a
genuine interest in the unique requirements of each               dedicated team. Although we may be working                       reasonable fee. THS works to minimize your risks,
client, demand excellence of ourselves, and deliver                                        & staff have developed
                                                                  remotely, the TS attorneys                                       protect your interests and offer you common-sense
customized solutions.


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We have been representing owners and managers of                 several CoronaVirus-Related documents for rental       solutions through cost-effective representation in the
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residential and commercial property in Colorado for              housing providers.                                     areas listed below:
over two decades and are proud to represent most of
                                                                 The resources include memos explaining the CARES        Residential & Commercial Evictions
the largest owners and property management firms in
                                                                 Act, sample Grace & Forgiveness Policies, up-to-date    Fair Housing Defense               Login
the state. We are also privileged to serve thousands of
                                                                 information regarding the County Court Schedules,       Lease Drafting & Review LEARN MORE   
smaller owners and property managers who also look
                                                                 and more. If you have questions about how the              Landlord Recovery-Collections
to us for guidance and assistance with their legal
                                                                 CoronaVirus and the CARES Act affect your property,         Bankruptcy & Creditor Representation
needs.                                                                                                                  
                                                                 be sure to check out our COVID-19 Resource Page at
                                                                                                                            Real Estate Commission
Our philosophy that timely evictions save thousands              tinyurl.com/TS-COVID-Page.
                                                                                                                            Education
in lost rental days has made us ‘The’ #1 Eviction Firm
in Colorado. We are committed to delivering an
effective solution-based approach to our clients in
assisting them in achieving their goals.




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Landlord Recovery–Collections                                                                                                       Home / Practice Areas / Landlord Recovery–Collections




                                             As Colorado’s Leading Landlord Advocacy Firm, we have an intimate                     Practice Areas
                                             understanding of the rental housing industry and we understand the
                                             importance of reliable rent collection and the impact that non-paying                 Residential & Commercial Evictions
                                             tenant(s) can have on you. Not all firms that handle landlord-tenant litigation       Fair Housing Defense
                                             also handle collections and manage debt recovery solutions for their clients.
                                                                                                                                   Lease Drafting & Review
                                             Whether you are a landlord with one property, multiple properties, or
                                             hundreds of units, we have a customized collection/debt-recovery program              Landlord Recovery–Collections
                                             that will deliver results for you.                                                    Bankruptcy & Creditor Representation
                                             Our objective is to become your collection partner by providing you with an           Broker Compliance
                                             effective, stress-free way of collecting your outstanding tenant debts. Our
                                             philosophy is to treat your business as if it were our own. When it comes to
                                             collecting debt, no Firm is more diligent. We are committed to helping you
                                             recover your outstanding debts quickly, professionally, efficiently and
                                             amicably.

                                             Multi-Family Housing Debt Recovery:
                                             Firm Clients who are Multi-Family Property Managers, Portfolio Managers,
                                             and Owners enjoy several advantages when working with us in pursuing debt
                                             recovery for their receivables. Our proven strategy guarantees that your
                                             eviction cases are collection cases from day one. We have a proven track
                                             record demonstrating that our approach for multi-family debt-recovery clients
                                             benefits and maximizes their recoveries and produces higher rates of return
                                             for our clients. Our property owners and management company clients
                                             appreciate that our approach to collecting their debt is uniquely designed to
                                             limit risk, ensure compliance and treat their debtors ethically and responsibly.

                                             For more Information regarding the advantages of our Multi-Family Debt
                                             Recovery Program please contact the Firm Partners Mark Tschetter or Vic
                                             Sulzer.

                                             Landlord Rental Debt Recovery:
                                             We provide a seamless transition from Eviction to Collection that can save
                                             you time and make collecting your money easier. Our Firm handles
                                             eviction/unlawful detainer proceedings as well as collect on judgments
                                             obtained in breach of contract/lease agreements. If a tenant owes you
                                             money for any reason that arose out of a landlord-tenant relationship, we can
                                             help you obtain a judgment and collect what you are owed. Our attorneys and
                                             collection professionals tenaciously and aggressively pursue your delinquent
                                             tenants. Our Landlord Recovery/Collection team has the resources, expertise
                                             and determination to enforce judgments, uncover any assets or sources of
                                             income, and take whatever steps are necessary to legally seize them.

                                             Our Recovery/Collection services are handled on an hourly basis with an up-
                                             front retainer to cover estimated expenses and fees. Our attorneys work
                                             directly with our clients to determine their best options and communicate on
                                             a regular basis, keeping them up to date and involved with the decision
                                             making process. We always seek the most cost-effective solution utilizing the
                                             Firm commitment to individualized attention, practical advice and excellent
                                             personal service. Our bottom line for collecting your debt is keeping your
                                             legal expenses reasonable and collecting your money at the earliest
                                             opportunity possible.

                                             THS Full Range of Collection Services Include:
                                                 Initial Demand Letter & Follow Up
                                                 Skip-Tracing Service
                                                 Preparation of Court Paperwork

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                                                   Post Judgment Collection
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